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Attorneys for Defendant Sidley Austin LLP


                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON,

                                 PORTLAND DIVISION

LAWRENCE P. CIUFFITELLI, for himself        Case No. 3:16-cv-00-580-AC
and as Trustee of CUIFFITELLI
REVOCABLE TRUST, et al.,                    AMENDED STATEMENT OF
                                            DEFENDANT SIDLEY AUSTIN LLP
              Plaintiffs,                   RELATING TO THE JOINT REPORT ON
                                            ESI DISCOVERY ISSUES
       vs.

DELOITTE & TOUCHE LLP, et al.,

              Defendants.




 AMENDED STATEMENT OF DEFENDANT SIDLEY AUSTIN LLP RELATING TO THE JOINT REPORT ON
                             ESI DISCOVERY ISSUES
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       To assist the Court in reviewing the parties’ Joint Report on ESI Discovery Issues [Dkt.

No. 263], attached as Exhibit 1 is Defendant Sidley Austin LLP’s (“Sidley”) most recent search

proposal to Plaintiffs regarding search terms and custodians. As explained in Sidley’s part of the

Joint Report, this proposal includes 18 custodians and 26 search terms that are meant to identify

additional emails that are responsive to the Court’s February 21 protective order. Sidley

submitted this proposal to Plaintiffs on August 25, 2017. Although Plaintiffs attached Sidley’s

initial (and later superseded) search proposal as an exhibit to the Joint Report, Sidley now

respectfully submits its most recent proposal to ensure that the Court has a complete record.



DATED: September 28, 2017                 MUNGER, TOLLES & OLSON LLP

                                                BRAD D. BRIAN
                                                BRUCE A. ABBOTT
                                                KEVIN L. BRADY


                                          By:          s/ Kevin L. Brady
                                               KEVIN L. BRADY
                                          Attorneys for Defendant SIDLEY AUSTIN LLP




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 AMENDED STATEMENT OF DEFENDANT SIDLEY AUSTIN LLP RELATING TO THE JOINT REPORT ON
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Sidley’s revised proposed search parameters for identifying emails and other ESI responsive to
the Court’s February 21, 2017 discovery order.

Search parameters for Items 1, 2, 4, 5, 6, and 8

      Custodians:
             Alexandria Glispie
             Beth Quintana
             Christian Pilhofer
             Mark Whatley
             Patrick Mellon
             Peter Edgerton
      Search terms
             ACOF
             (Aequitas w/3 “Capital Opportunities”)
             ACOG
             (“General Partner” AND ((Aequitas w/3 “Capital Opportunities”) OR ACOF))
             (GP AND ((Aequitas w/3 “Capital Opportunities”) OR ACOF))
             aequitas w/3 “general partner”
             “Aequitas Merchant Bank”
             “Merchant Fund”
             Duff
             hauck
             woodcox
             froude
             ruh
      Date range: 5/1/13 to 11/30/15

Additional search parameters for Items 6

      Additional custodians:
             Hardy Callcott
             Brian Kaplowitz
             Pam Martinson
             Allison Satyr
             Carla Teodoro
      Additional search terms:
             “Aequitas Investment Management”
             AIM
             aequitas w/3 “investment advisor”
             Jesenik
             MacRitchie
             Gillis
             Oliver
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     Date range for additional terms: 2/1/12 to 2/28/16

Search parameters re Items 7

     Custodians:
            Carla Teodoro
            Jennifer Gaspar
            Miles Fuller
            Sarah Hemmendinger
            Stevie Kelly
            Vikram Shah
            Matthew Anderson
            Nicole Ryan
            Allison Satyr
            Mark Whatley
            Pamela Martinson
            Hardy Callcott
     Search terms
            “@sec.gov” AND aequitas
            Buchholtz
            Combs
            Smyth
            Snyder
            Boodoo
     Date range: 7/1/14 to 2/28/16
